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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                 )
                     Plaintiff,           )
                                          )
             v.                           )                  Civil Action No. 18-11582-RWZ
                                          )
$48,940 IN UNITED STATES CURRENCY,        )
                        Defendant.        )
__________________________________________)
                                          )
EDWIN BAROSY,                             )
                        Claimant.         )

                     JOINT REQUEST FOR A SCHEDULING ORDER

       The United States of America, by its attorney, Andrew E. Lelling, United States Attorney

for the District of Massachusetts, and Claimant, Edwin Barosy, by his attorney, Matthew D.

Thompson, submit this Joint Request for a Scheduling Order in accordance with Local Rule 16.1.

       This is a civil forfeiture action brought by the United States against the Defendant property,

$48,940 in United States Currency (the “Defendant Property”) pursuant to 21 U.S.C. § 881(a)(6).

The Property was seized from the Claimant on February 1, 2018 at Boston Logan International

Airport, Terminal C.    The United States alleged that the Defendant Currency was subject to

forfeiture, pursuant to 21 U.S.C. §§ 881(a)(6) and 881(a)(4) because it constitutes property used,

or intended to be used, in any manner or part, to commit, or to facilitate the commission of, a

violation of 21 U.S.C. §§ 841 and/or 846.

       The Claimant has denied the allegations in the Complaint. The Claimant has timely filed

an answer and claim to the Defendant Property.

Proposed Pre-Trial Schedule

       1.       Claimant anticipates filing a Motion to Suppress pursuant to Rule G(8)(a) of the

Supplemental Rules of Certain Admiralty and Maritime Claims, Federal Rules of Civil Procedures
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and Supporting Memorandum of Law regarding the warrantless searches and resulting seizures of

the Defendant Property.    Challenges to the legality of the seizure are brought pursuant to a motion

to suppress under Rule G(8)(a), not a motion to dismiss.          Claimant as authority cites the

protections of the Fourth Amendment by requiring warrants for seizures unless “there is probable

cause to believe that the property is subject to forfeiture and the seizure is made pursuant to a

lawful arrest or search.” 18 U.S.C. 981(b)(2)(B). The parties reserve the right to raise additional

questions of law.

       Accordingly, Claimant seeks a phased discovery schedule.          Claimant asserts that only

limited discovery related to information relevant to Claimant’s motion to suppress should take

place pending resolution of Claimant’s motion to suppress.

       2.       The government takes the position that phased discovery would not be an efficient

use of resources. Cf. U.S. v. Funds in the Amount of $575,840, 2015 WL 1537577, * 4 (N.D. Ill.

Mar. 31, 2015) (denying motion to suppress as premature on the grounds that the Court did not

have sufficient evidence regarding the claimant’s standing). While the illegal seizure of the res in

an in rem forfeiture action may require suppression of the evidence, it does not require dismissal

of the forfeiture complaint. See Fed R. Civ. P. Supp. Rule G(8)(a) (“Suppression does not affect

forfeiture of the property based on independently derived evidence.”). If the Court orders phased

discovery, the government at a minimum seeks to depose the Claimant prior to the government

filing any opposition to Claimant’s motion to suppress.

       3.       Claimant opposes the taking of his deposition prior to a resolution of a motion to

suppress.

       4.       Claimant requests a filing deadline forty-five days following the completion of this

limited discovery.



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        5.       The government takes the position that dispositive motions should be filed within

45 days of the phased or fact discovery deadline, and responses should be due within 30 days of

the filing of the motion.

        6.       Claimant requests a full evidentiary hearing on the motion to suppress and request

that the Court schedule a hearing thirty days after the filing of the government’s opposition or at

such time as is convenient for the Court.

        7.       Claimant proposes that after the motion to suppress is resolved the Parties will

request an additional Scheduling Conference with respect to further conduct of the case.

        8.       The Parties do not consent to referral of this matter to a Magistrate Judge for further

litigation and trial at this time.



                                                                 Respectfully submitted,

        ANDREW E. LELLING                                        EDWIN BAROSY,
        United States Attorney,

        /s/ Annapurna Balakrishna                                /s/ Matthew D. Thompson
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                                        Certificate of Service

       I certify that this document will be filed using the ECF system will be automatically
served upon claimant’s counsel, who is registered with ECF, on June 4, 2019.

                                                                 /s/ Annapurna Balakrishna
                                                                 Annapurna Balakrishna
                                                                 Assistant United States Attorney




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